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               Exhibit 8
       Case 2:16-cv-06576-KM-MAH
Re:Fwd:Zemi                                                              Document 266-8 Filed 10/10/22 Page 2 of 2 PageID: 11860


       Subject: Re: Fwd: Zenu
       From: "USTM J.Briggs" <jb@ustm.us.com>
                                    -



       Date: 1/24/2013 11:43 AM
       To: "emelo@ustm.us.com"<EMelo@USTM.us.com>

       BEDs:          77964313;           2848103;          1733331;             1404280;      1359432

       May be related                    company.          Should         file     word     and logo.


       On          1/24/2013        11:25       ÞN,    emelo@ustm.us.com                    wrote:




        --------
                             Original           Message       --------



        Subject:                        Zenu
        Date:                  Thu,    Jan 2013 12:53:24
                                          24              -0500
        From:                 wilson  zuluaga <wilson.zuluaga@latin-food.com>
        To:                 emelo@ustm.us.com  <EMelo@USTM.us.com>



        Ernesto:             Brand        #1    and logo.

        Product             line:

        Cold          cut    meets,         sausage,         franks,             bologna,      canned    Vienna   sausage,   etc.

        Will          send second              in   next     email.

        Thanks,




                                                                                                                                    EXHIBIT




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                                                                                                                                    USTM0000002
